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 8
                                    UNITED STATES DISTRICT COURT
 9
                                            DISTRICT OF NEVADA
10
11   JOSEPH L. MIZZONI,                                        Case No. 3:15-cv-00499-MMD-WGC
12                         Plaintiff,
                                                                         NOTICE
13   vs.                                                          AVAILABILITY OF VIDEO
                                                                      MARCH 28, 2015
14   STATE OF NEVADA, et al.,

15                         Defendants.

16          Defendants, Ira Brannon and Correctional Officer Smith, by and through counsel, Adam Paul

17   Laxalt, Attorney General of the State of Nevada, and Erin L. Albright, Deputy Attorney General,

18   hereby submit this Notice with this Court regarding the video tape requested by Plaintiff, Joseph L.

19   Mizzoni (“Inmate Mizzoni or Mizzoni”) in his Motion Seeking Permission to Obtain by Court Order

20   Video Tape (ECF No. 50).

21          Inmate Mizzoni presently has two active litigation cases addressing the incident on March 28,

22   2015, in which Mizzoni asserts he was allegedly assaulted by Correctional Officer Smith. These

23   matters include the instant matter, which addresses the disciplinary hearing. The other matter is Case

24   No. 3:15-cv-00313, which addresses the alleged use of excessive force on Inmate Mizzoni by

25   Correctional Officer Smith and others after Mizzoni allegedly expressed his disapproval with a cell

26   search and quit his porter job.     (ECF No. 40 in 3:15-cv-00313 at 10-11).      In his opposition to

27   Defendants’ Motion for Summary Judgment in Case No. 3:15-cv-00313, Inmate Mizzoni raised the

28   issue of video tape footage.       In their reply to Mizzoni’s opposition, Defendants apprised this


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 1   Court and Inmate Mizzoni that the incident on March 28, 2015 occurred in the rotunda of housing unit
 2   5, an area that does not have video coverage; therefore, no video footage of the incident exists. (ECF
 3   No. 62 in 3:15-cv-00313 at 5-6). The opposition also outlined that an investigation was conducted and
 4   no video footage from any part of Northern Nevada Correctional Center (“NNCC”) capturing any
 5   portion of the subject incident exists. (Id.)
 6          In preparation for the June 15, 2017 hearing in this matter on Inmate Mizzoni’s Motion Seeking
 7   Permission to Obtain by Court Order Video Tape (ECF No. 50), the undersigned requested her clients
 8   double check their files regarding the existence of video footage of the March 28, 2015 incident. The
 9   video footage taken and available on March 28, 2015 of housing units 4, 5, 7 and 8 at NNCC for the
10   time frame of 8:00 p.m. and 9:30 p.m. does not depict the incident involving Inmate Mizzoni. (Exh. A).
11          Further, the video taken by the cameras in housing units 4, 5, 7 and 8 is on a recording loop;
12   therefore, the video recording is not indefinitely retained by the NDOC. (Id.) The only time a video
13   recording from a camera in housing units 4, 5, 7 and 8 is indefinitely kept by the NDOC is if there is an
14   incident (i.e., riot, assault against a correctional officer, assault against an inmate) that occurred and the
15   incident was recorded on video. (Id.) If that occurs, the NDOC will make a copy of the video
16   recording and retain the recording for its records. (Id.) Since the March 28, 2015 incident occurred in
17   an area where there is no video camera coverage, and there is no recorded video coverage of an incident
18   from March 28, 2015 involving Inmate Mizzoni, there is no video footage available to provide Mizzoni.
19   The video footage from that date has been recorded over as the video footage is on a recording loop and
20   is not indefinitely retained by NNCC or NDOC.
21          Dated this 22nd day of June, 2017.
22                                                   ADAM PAUL LAXALT
                                                     Attorney General
23
24                                                   By:
25                                                             ERIN L. ALBRIGHT
                                                               Deputy Attorney General
26                                                             State of Nevada
                                                               Bureau of Litigation
27                                                             Public Safety Division
28                                                             Attorneys for Defendant

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 1                                     CERTIFICATE OF SERVICE
 2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
 3   on this 22nd day of June, 2017, I caused to be deposited for mailing a true and correct copy of the
 4   foregoing, NOTICE AVAILABILITY OF VIDEO MARCH 28, 2015, to the following:
 5   Joseph L. Mizzoni #68549
     High Desert State Prison
 6
     P.O. Box 650
 7   Indian Springs, NV 89070

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10                                                         An employee of the
                                                           Office of the Attorney General
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